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                          UNITED STATES DISTRICT COURT
                                  District of Maine


                                               )
 WALTER J. DYER, Personal Representative       )              Docket No. 1:20-cv-00224-NT
 of the Estate of JENNIFER M. DYER,            )
                       Plaintiff               )
                                               )
 v.                                            )
                                               )
 PENOBSCOT COUNTY, PENOBSCOT                   )
 COUNTY SHERIFF’S OFFICE,                      )
 PENOBSCOT COUNTY JAIL, NICHOLAS               )
 MITTON, TROY MORTON, LOUIS ST.                )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                           )
                      Defendants               )
                                               )


                       MOTION TO WITHDRAW AS ATTORNEY

       NOW COMES Attorney Cassandra Shaffer and moves to withdraw as counsel for

Defendants with respect to the above-captioned matter. Attorney Peter T. Marchesi will remain

as lead counsel.


Dated: July 5, 2022                                  /s/ Cassandra S. Shaffer
                                                   Cassandra S. Shaffer, Esq.
                                                   Wheeler & Arey, P.A.
                                                   27 Temple Street
                                                   Waterville, ME 04901
 Case 1:20-cv-00224-NT Document 24 Filed 07/06/22 Page 2 of 2                      PageID #: 207




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                       Plaintiff                  )
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 PENOBSCOT COUNTY, PENOBSCOT                      )
 COUNTY SHERIFF’S OFFICE,                         )
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 MITTON, TROY MORTON, LOUIS ST.                   )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                              )
                      Defendants                  )
                                                  )

                                CERTIFICATE OF SERVICE

       I, Cassandra Shaffer, Esq., attorney for Defendants, hereby certify that:

       ●      Motion to Withdraw as Attorney

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Jodi L. Nofsinger Esq.         NofsingerService@bermansimmons.com
              Adam J. Arguelles, Esq.        ArguellesService@bermansimmons.com


Dated: July 5, 2022                                     /s/ Cassandra Shaffer
                                                      Cassandra Shaffer, Esq.
                                                      Wheeler & Arey, P.A.
                                                      27 Temple Street
                                                      Waterville, ME 04901
